     Case 7:24-cv-00114-K Document 60 Filed 10/11/24        Page 1 of 2 PageID 238



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                            WICHITA FALLS DIVISION

X CORP.,

         Plaintiff,
                                             Case No. 7:24-cv-00114-K
v.

WORLD FEDERATION OF
ADVERTISERS,
ET AL.,

         Defendants.


  NOTICE OF DISMISSAL OF CLAIMS AGAINST UNILEVER PLC AND
  UNILEVER UNITED STATES, INC. PURSUANT TO FRCP 41(a)(1)(A)(i)

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff X Corp.

hereby dismisses with prejudice its claims against Defendants Unilever PLC and

Unilever United States, Inc. (collectively, “Unilever”), neither of which has served

either an answer or a motion for summary judgment. Plaintiff and Unilever will each

bear their own fees and costs.

        Plaintiff’s claims against all other Defendants are unaffected by this dismissal

and remain pending.
  Case 7:24-cv-00114-K Document 60 Filed 10/11/24   Page 2 of 2 PageID 239



October 11, 2024                      Respectfully submitted,

                                      /s/ John C. Sullivan
                                      John C. Sullivan
                                      Texas Bar No. 24083920
                                      john.sullivan@the-sl-lawfirm.com
                                      Jace R. Yarbrough
                                      Texas Bar No. 24110560
                                      jace.yarbrough@the-sl-lawfirm.com
                                      S|L LAW PLLC
                                      610 Uptown Boulevard, Suite 2000
                                      Cedar Hill, TX 75104
                                      Phone: (469) 523-1351
                                      Facsimile: (469) 613-0891


                                      DHILLON LAW GROUP, INC.
                                      Christopher G. Renner*
                                      DC Bar No. 1025699
                                      cgrenner@dhillonlaw.com
                                      Telephone: (571) 430-2240
                                      Jonathan M. Shaw*
                                      Virginia Bar No. 98497
                                      jshaw@dhillonlaw.com
                                      Telephone: (703) 748-2266
                                      Andrew K. Mann*
                                      Virginia Bar No. 77021
                                      akmann@dhillonlaw.com
                                      Telephone: (571) 695-2677
                                      2121 Eisenhower Avenue, Suite 608
                                      Alexandria, VA 22314

                                      Harmeet K. Dhillon*
                                      California Bar No. 207873
                                      harmeet@dhillonlaw.com
                                      Telephone: (415) 433-1700
                                      177 Post Street, Suite 700
                                      San Francisco, CA 94108

                                      * admitted pro hac vice

                                      Counsel for Plaintiffs
